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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
                     NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES



This case has been assigned to:
                 District Judge John A. Kronstadt
                 Magistrate Judge Alicia G. Rosenberg


The case number on all documents filed with the Court should read as follows:
                                  2:19−cv−08710 JAK (AGRx)
District judges in the Central District of California refer all discovery-related motions to the
assigned magistrate judge pursuant to General Order No. 05-07. Discovery-related motions
should be noticed for hearing before the assigned magistrate judge. Please refer to the assigned
judges' Procedures and Schedules, available on the Court's website at www.cacd.uscourts.
gov/judges-requirements, for additional information.




                                                             Clerk, U.S. District Court

 October 11, 2019                                            By /s/ Luz Hernandez
    Date                                                        Deputy Clerk




                                           ATTENTION
 The party that filed the case-initiating document in this case (for example, the complaint or the
 notice of removal) must serve a copy of this Notice on all parties served with the case-initiating
  document. In addition, if the case-initiating document in this case was electronically filed, the
    party that filed it must, upon receipt of this Notice, promptly deliver mandatory chambers
  copies of all previously filed documents to the newly assigned-district judge. See L.R. 5-4.5. A
  copy of this Notice should be attached to the first page of the mandatory chambers copy of the
                                      case-initiating document.



CV-18 (08/19)               NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
